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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 SINGULAR COMPUTING LLC,                            Civil Action No. 1:19-cv-12551-FDS

        Plaintiff,
                                                    Hon. F. Dennis Saylor IV
 v.
                                                    REDACTED VERSION
 GOOGLE LLC,

        Defendant.

            PLAINTIFF’S UNOPPOSED MOTION TO CONTINUE THE TRIAL

       Plaintiff Singular Computing LLC (“Singular”) moves for a continuance of the trial in this

matter (1) to allow the Parties sufficient time to conduct deposition discovery to which they have

agreed, (2) for the Court to resolve a dispute between the Parties concerning additional discovery

for which Singular plans to seek leave, including a Rule 30(b)(6) deposition of Google and the

production of more than 7,000 document families, and (3) for the Parties to conduct any additional

discovery approved by the Court. While Google will oppose Singular’s motion to compel, it does

not oppose the requested continuance.

       In further support of this Motion, Singular states as follows:

       1.      Trial is currently scheduled to begin on September 11, 2023. ECF No. 403.

       2.      On July 17, 2023, Singular filed an Emergency Motion to Reopen Discovery

Regarding Defendant’s Production of Relevant Email Evidence on July 12, 2023 (the “Motion to

Reopen Discovery”), ECF No. 548, requesting, among other things, the production of relevant

documents, a Rule 30(b)(6) deposition of Google concerning its search for and collection, review

and production of documents responsive to Singular’s document requests, and to reopen the




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deposition of Google engineer, Dr. Jeffrey Dean, who authored a September 11, 2013 email that

was included in Google’s July 12, 2023 production (the “Dean Email”). See id. at 10.

          3.    Shortly after Singular filed the Motion to Reopen Discovery on July 17, 2023,

Google made a supplemental production, including



                         were identified by Singular as custodians pursuant to the ESI Order, ECF

No. 68, and were previously deposed in this case.

          4.    During a previously scheduled status conference on July 18, 2023, the Court held

oral argument on the Motion to Reopen Discovery. At the conclusion of the status conference, the

Court instructed the Parties to meet and confer with respect to the requested Rule 30(b)(6)

deposition and allowed Singular to reopen Dr. Dean’s deposition, to which Google had already

agreed.

          5.    The Parties held a lengthy conference on July 20, 2023 and, following that

conference, the Parties agreed that Dr. Dean’s deposition would continue on July 28, 2023 and that

the Parties would continue to meet and confer to address (1) the information Singular planned to

seek in a Rule 30(b)(6) deposition of Google, (2) certain privilege assertions Google made in

response to Singular’s request for information concerning Google’s search for and collection,

review and production of documents in this case, and (3) Singular’s request for additional

documents concerning Singular’s founder and president and the inventor of the patents-in-suit, Dr.

Joseph Bates.

          6.    Over the following days, the Parties continued to meet and confer through email

communications and held another lengthy conference on July 26, 2023. During that conference,

the Parties narrowed the dispute concerning Google’s assertions of privilege but will require the



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Court’s assistance to resolve disputes concerning the scope of the privilege and Singular’s

entitlement to additional information, including a ruling on certain privilege assertions Google

maintains and Singular’s request for leave to conduct a Rule 30(b)(6) deposition of Google.

       7.      Shortly after the July 26, 2023 conference, Google made another supplemental

production of documents to Singular. However, the Parties dispute Singular’s entitlement to more

than 7,000 document families that hit on the search term “Bates,” and which have not been

produced to date and which Google contends were excluded from review and production as a result

of the ESI search terms mutually agreed to by the parties. In addition, Singular is reviewing these

documents to see what additional discovery may be needed.

       8.      The Parties held a third conference on July 27, 2023. At that conference, the Parties

discussed Singular’s request to re-open the depositions of                                  and are

continuing to meet and confer on that topic. If they cannot come to an agreement, those depositions

will also be the subject of Singular’s motion to compel.

       9.      As a result of Singular’s plan to file a motion to compel the production of additional

documents and information, the Parties agreed to re-schedule Dr. Dean’s deposition until after any

additional document discovery is complete to avoid Dr. Dean having to sit for a third day of

deposition.

       10.     The work done to date to address these discovery issues has made it clear to

Singular that significant discovery work remains to be done, all of which Singular believes is

important to its trial presentation. For its part, Google disagrees that the scope of discovery

Singular is seeking in its forthcoming motion to compel is appropriate or necessary, but

nonetheless does not oppose Singular’s request for a continuance in light of that anticipated

motion.



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       11.     To allow time for the Court to consider and rule on Singular’s motion to compel,

for the Parties to conduct any additional discovery ordered by the Court, including document

discovery and the Rule 30(b)(6) deposition of Google, and for the Parties to conduct the agreed-to

deposition of Dr. Dean and potentially the depositions of                          if agreed-to by

Google or approved by the Court, Singular requests that the Court continue the trial for a minimum

of two months and re-schedule the trial for the next available date, excluding dates on which the

Parties’ lead counsel have previously scheduled trials. Google’s lead counsel, Robert Van Nest,

has a previously scheduled trial beginning on November 6, 2023, which is currently scheduled for

two weeks but may last three weeks. See Abbott Diabetes Care Inc. f/k/a TheraSense, Inc. et al v.

DexCom, Inc. 1-21-cv-00977-KAJ (D. Del.). Singular’s lead counsel, Kerry Timbers, has a

previously scheduled trial beginning on December 11, 2023, which is expected to last 3 days. See

Med-El Elektromedizinische Gerate GES.M.B.H. v. Advanced Bionics, LLC, 18-cv-01530-JDW

(D. Del.).

       WHEREFORE, Singular respectfully requests that this Court allow this Motion and

continue the trial for a minimum of two months and reschedule the trial for the earliest available

date thereafter, excluding the dates on which the Parties’ lead counsel are unavailable due to

previously scheduled trials.




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Dated: July 31, 2023                         Respectfully submitted,

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                                             ATTORNEYS FOR THE PLAINTIFF


                            LOCAL RULE 7.1 CERTIFICATION

       Counsel for Singular, hereby certifies that they conferred with counsel for Google LLC to
resolve the issues presented in this motion and counsel for Google indicated that Google does not
oppose the relief requested in this motion.

                                             /s/ Kevin Gannon


                                CERTIFICATE OF SERVICE

       I certify that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system.

                                             /s/ Kevin Gannon




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